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2                                                                  THE HONORABLE MARC L. BARRECA
     David A. Gebben, Attorney At Law                                                                           Chapter 7
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10                             UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     In Re:                                                 NO.     10-23006-MLB
12   KEVIN G. BOYD and SUSAN M. TELFORD                     APPLICATION FOR ORDER AUTHORIZING
     BOYD, a married couple,                                TRUSTEE TO CONDUCT RULE 2004
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                                                            EXAM(S) OF THE DEBTOR(S), AND/OR OF
14                                                          MARK BOYD, AND/OR OF CW TITLE
                                          Debtors.
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                EDMUND J. WOOD, TRUSTEE, the Chapter 7 trustee herein (“trustee”), by and through his
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       legal counsel, David A. Gebben, Attorney At Law, hereby moves this Court, on an ex-parte basis, for an
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       order authorizing him to conduct Bankruptcy Rule 2004 Exam(s) of the above-named debtor(s) and/or
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       of Kevin Boyd’s brother, Mark Boyd, and/or of Commonwealth Land Title Co. a/k/a/ CW Title, and in
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       support thereof the trustee states as follows:
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                1.   Kevin Boyd held an interest in the Boyd Family Limited Partnership for a period of time
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       prior to the commencement of this case. But Kevin Boyd also conveyed his interest in that entity to
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       Province Properties LLC, an entity in which his brother, Mark Boyd, held an ownership interest, prior to
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       his bankruptcy filing, and CW Title was the escrow agent on that transaction. Kevin Boyd also held an
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       interest in the June R. Boyd Credit Trust at the time of filing, or he may have acquired an interest in that
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       entity after filing. The trustee would like to obtain more information about the Boyd Family Limited
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     APPLICATION FOR ORDER AUTHORIZING                                                           DAVID A. GEBBEN,
                                                                                                 ATTORNEY AT LAW
     TRUSTEE TO CONDUCT RULE 2004 EXAM(S)                  -1-                               1700 SEVENTH AVENUE, SUITE 2100
                                                                                                    SEATTLE, WA 98101
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      Partnership, about Province Properties LLC, about the transfer from Boyd Family Limited Partnership to
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      Province Properties LLC and about the June R. Boyd Credit Trust, and the trustee has reason to believe
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      that one or more of the above-named parties may be able to provide the trustee with information and/or
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      documentation relevant to those matter(s) or with information and/or documentation that may be
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      relevant to one or more other issue(s) in this case.
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             2.     The trustee may conduct examination(s) of entities on matter(s) that are relevant to the
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      bankruptcy case, under Bankruptcy Rule 2004. The trustee will provide at least 10 days prior written
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      notice of any Rule 2004 Exam(s) that are scheduled to be held of the above-named debtor(s), or of Mark
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      Boyd, or of Commonwealth Land Title Co. a/k/a/ CW Title, in connection with this case.
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11           WHEREFORE, the trustee hereby prays for an order in this matter in the form of the proposed

12    order which is being submitted herewith.

13                           Respectfully submitted this __30th___ day of January, 2012.

14                                                           David A. Gebben, Attorney At Law
15                                                           ____/S/ David A. Gebben _________
                                                             By: David A. Gebben, WSBA #16290
16
                                                             Attorney for trustee
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     APPLICATION FOR ORDER AUTHORIZING                                                         DAVID A. GEBBEN,
                                                                                               ATTORNEY AT LAW
     TRUSTEE TO CONDUCT RULE 2004 EXAM(S)                    -2-                           1700 SEVENTH AVENUE, SUITE 2100
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